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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   UNITED STATES OF AMERICA,
10                 Plaintiff,                             Case No. CR04-249L
11          v.                                            ORDER CONTINUING TRIAL DATE
12   ANTONIO HURTADO,
13                 Defendant.
14
15         Based on the records and files herein and the representations of defense counsel, the

16 government, and Mr. Hurtado, the Court finds that:
17         1.     On April 1, 2005, this Court issued an order continuing Mr. Hurtado’s trial from

18 April 18, 2005 to June 27, 2005;
19         2.     On June 6, 2005 defense counsel filed a “Second Supplemental Motion to

20 Suppress Evidence” (Dkt. # 107). On June 13, 2005, this Court, at the parties’ request,
21 rescheduled Mr. Hurtado’s suppression hearing to June 29, 2005. The rescheduled hearing
22 requires that the June 27, 2005 trial be continued;
23         3.     Defense counsel and counsel for the government have been contacted by phone

24 and consent to a continuance of the trial date until July 25, 2005;
25         4.     Mr. Hurtado has previously executed a “Speedy Trial Waiver” (Dkt. # 99) in

26 which Mr. Hurtado has agreed to waive his right to a speedy trial through July 30, 2005; and


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1         5.     The ends of justice outweigh the best interests of the public and the defendant in a
2 speedy trial. In light of the rescheduled suppression hearing, failure to continue the trial would
3 deny defense counsel adequate time to effectively prepare for trial.
4         For all the foregoing reasons, IT IS HEREBY ORDERED that the trial date is continued
5 from June 27, 2005 to July 25, 2005.
6         IT IS FURTHER ORDERED that pursuant to Title 18, United States Code, Section
7 3161(h), the period of time from the date of this order to the new trial date is excluded in the
8 computation of time under the Speedy Trial Act.
9
10        DATED this 14th day of June, 2005.


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                                             Robert S. Lasnik
13                                           UNITED STATES DISTRICT JUDGE
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     ORDER CONTINUING TRIAL DATE

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